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                         CA SE N O .17-80242-C R-R O SEN BER G JH U N T
                                                                                 3ealed
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  UN ITED STA TES O F A M E RICA ,
                                                                             FILEDbyè(%        o.c.
  VS.
                                                                               NûV 2S 2218
  ALEJA N DR O A ND R AD E C ED ENO ,                                          STEVEN M .LARIMORE
                                                                               CLERK U.s DIsT.cT.
                                                                                s.D.ofFLA - MIAMI
                 D efendant.
                                    /

                        N O TICE O F L IS PEN D EN S R E :FO R FEITUR E

  GRANTEEIS):Antopinker,LLC,aFloridaIimited Iiabilitycompany
 TO : A LL PER SON S W H O M A Y CLA IM BY ,TH RO U GH ,O R UN D ER EITH ER A
      DEFEN DA N T A N D/OR GRAN TEE any interestin the realproperty described herein.

           NOTICE IS HEREBY GIVEN,pursuantto theprovisionsofFla.Stat.j48.23,asmade

 applicable hereto by 28 U.S.C.j1964,thaton December 18,2017,the United States filed a
 crim inalInfonnation in the United States DistrictCourtfor the Southern D istrictofFlorida in the

 foregoingaction.Pursuantto 18U.S.C.j982(a)(1),theUnitedStatesofAmericaseekstoforfeit
 the real property located at 12955 SW 68th Avenue,Pinecrest, Florida 33156, including a1l

 buildings, fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein or

 thereon,and which ism orefully described as:

           Lot18,in Block 4,ofRock Lake,according to the Platthereof,asrecorded in PlatBook
           65,atPage 44,ofthe Public RecordsofM iam i-D ade County,Florida.

           FURTHER NOTICE IS HEREBY GIVEN thatthe provisions of 21 U.S.C.j853(k)
 prohibitany claimantto thedescribed property from (1)intervening in thetrialorappealofthe
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  criminalcase,or(2)commencingan actionat1aw orequity againsttheUnited Statesconcerning
  the validity ofany alleged interestsubsequentto the lnform ation, exceptfollowingtheentryofany

  orderofforfeiture asprovidedby 21U.S.C . j853(n).

                                             Respectfully subm itted,

                                            A RIA N A FA JA RD O O RSHA N
                                            U N ITED STA T S A TTO RN EY
   Thisinstrum entw as
  prepared by:                       By:    s/Nalina Som buntham
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